           Case 1:21-cr-00244-CKK Document 110 Filed 01/26/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-cr-244 (CKK)
               v.                             :
                                              :
ANTHONY ALFRED GRIFFITH, SR.,                 :
                                              :
                       Defendant.             :


    ASSENTED-TO MOTION TO EXTEND TIME FOR FILING GOVERNMENT’S
           OPPOSITION TO DEFENDANT’S MOTION TO SUPPRESS

       The government respectfully moves this Court to extend the time in which to file its sur-

reply pursuant to the Court’s Minute Order dated January 22, 2023, from January 27, 2023, to

February 3, 2023. In support thereof, both of the undersigned Assistant U.S. Attorneys have

been on trial this week in another matter (United States v. Alexander Sheppard, 21-CR-203-

JDB), and that even with the exercise of reasonable due diligence, additional time is necessary in

which to prepare the government’s sur-reply.

       The undersigned Assistant U.S. Attorney has communicated with counsel for Anthony

Alfred Griffith, Sr. and she does not object to the requested extension of time for filing the

government’s sur-reply.

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         Case 1:21-cr-00244-CKK Document 110 Filed 01/26/23 Page 2 of 2




       Accordingly, the government respectfully requests that the Court allow this motion.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                      By:     /s/ Craig Estes_____
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                                              /s/ Sonia Mittal_____
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 26, 2023, the foregoing document was filed electronically

with the Clerk of the Court using the ECF system, for uploading and service by electronic notice

to counsel and parties authorized to receive electronically Notices of Electronic Filing.

                                                     /s/ Craig E. Estes
                                                     CRAIG E. ESTES
                                                     Assistant United States Attorney



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